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                            UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF TEXAS

                                   SAN ANTONIO DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   ) MAGISTRATE NO.
                                                     ) SA:22-MJ-00966
+RPHUR =DPRUDQR -U                                  )


      MOTION TO SEAL CRIMINAL COMPLAINT, SUPPORTING AFFIDAVIT,
               ARREST WARRANT, AND MOTION TO DETAIN


TO THE HONORABLE COURT:

       The United States of America, by and through the United States Attorney for the Western

District of Texas, files this its Motion to Seal Criminal Complaint, Supporting Affidavit, Arrest

Warrant and Motion to Detain, and in support would show this Honorable Court:

                                                I.

       The disclosure of the above described Criminal Complaint, Supporting Affidavit, Arrest

Warrant, and Motion to Detain prior to its service could seriously jeopardize the investigation,

subject the agents to physical danger, and present the potential for destruction of evidence. The

Government would request that the Clerk of the Court be ordered to seal these materials, except

for two copies to be issued to the Affiant.

       WHEREFORE, premises considered, the Government respectfully requests that the Clerk

of the Court be ordered to seal the Criminal Complaint, Supporting Affidavit, Arrest Warrant,

Motion to Detain and this Motion, until further ordered by the Court, except for two copies to be
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